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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,
                                                           Case No. 1:20-cv-03590-JEB
                             Plaintiff,
                                                           HON. JAMES E. BOASBERG
       v.

META PLATFORMS, INC.,

                             Defendant.




                 [PROPOSED] ORDER GRANTING MOTION FOR
             ADMISSION OF ATTORNEY C. SCOTT LENT PRO HAC VICE

       At the District of Columbia this ___ day of March, 2022, having considered the Motion

seeking the admission pro hac vice of C. Scott Lent, counsel for Match Group, Inc. (ECF No.__),

and the Declaration of C. Scott Lent submitted in support of the motion:

       IT IS HEREBY ORDERED that the Motion is GRANTED.




                                            Hon. James E. Boasberg
                                            United States District Judge
